Case 1:15-cr-00114-MAC-ZJH               Document 71            Filed 05/19/16         Page 1 of 5 PageID #:
                                                191




                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION

UNITED STATES OF AMERICA                                §
                                                        §
v.                                                      §    CASE NO. 1:15-CR-114(2)
                                                        §
                                                        §
MARY COLLIER                                            §

           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On May 18, 2016, this cause came before the undersigned United States Magistrate Judge for

entry of a guilty plea by the defendant, Mary Collier, on Count One of the charging

Information1 filed in this cause.

       Count One of the Information charges that from or about January 16, 2014, to on or about

July 30, 2015, in the Eastern District of Texas and elsewhere, the defendant, Mary Collier,

       1
        Defendant signed a Waiver of Indictment which was filed in the record at the guilty plea hearing.

                                                      -1-
Case 1:15-cr-00114-MAC-ZJH           Document 71       Filed 05/19/16      Page 2 of 5 PageID #:
                                            192



having knowledge of the actual commission of a felony cognizable by a court of the United

States, to wit: felon in possession of a firearm, did knowingly conceal the same by concealing a

firearm in the defendant’s personal residence shared with a felon, and did not as soon as possible

make known the same to some judge or other person in civil or military authority under the

United States, in violation of 18 U.S.C. § 4.

       Defendant, Mary Collier, entered a plea of guilty to Count One of the Information into

the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement and plea

agreement addendum which were disclosed and addressed in open court, entered into the record,

and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).



                                                -2-
Case 1:15-cr-00114-MAC-ZJH            Document 71       Filed 05/19/16     Page 3 of 5 PageID #:
                                             193



       d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that her conduct falls within the definition of the crimes charged under 18 U.S.C. § 4.

                                   STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of witnesses, including expert witnesses, as well as through

admissible exhibits, each and every essential element of the crime charged in Count One of the

Information. The Government would also prove that the defendant is one and the same person

charged in the Information and that the events described in the Information occurred in the

Eastern District of Texas and elsewhere.

       Information was also presented at the guilty plea hearing in which the defendant

stipulated to proffered evidence supporting the concealment element of the charging crime.

       The Court incorporates the proffer of evidence described in detail in the factual basis and

stipulation in support of the guilty plea.

       Defendant, Mary Collier, agreed with and stipulated to the evidence presented in the

factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

presented by the Government and personally testified that she was entering her guilty plea

knowingly, freely and voluntarily.



                                               -3-
Case 1:15-cr-00114-MAC-ZJH          Document 71       Filed 05/19/16      Page 4 of 5 PageID #:
                                           194



                              RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging Information on file in this

criminal proceeding.    The Court also recommends that the District Court accept the plea

agreement and plea agreement addendum pursuant to Federal Rule of Criminal Procedure 11(c).

Accordingly, it is further recommended that, Defendant, Mary Collier, be finally adjudged as

guilty of the charged offense under Title 18, United States Code, Section 4.

       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement and addendum, the federal sentencing

guidelines and/or the presentence report because the sentencing guidelines are advisory in nature.

The District Court may defer its decision to accept or reject the plea agreement and addendum

until there has been an opportunity to consider the presentence report. See FED. R. CRIM. P.

11(c)(3). If the Court rejects the plea agreement and addendum, the Court will advise Defendant

in open court that it is not bound by the plea agreement and Defendant may have the opportunity

to withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM. P.

11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea, the

disposition of the case may be less favorable to Defendant than that contemplated by the plea



                                              -4-
Case 1:15-cr-00114-MAC-ZJH           Document 71       Filed 05/19/16      Page 5 of 5 PageID #:
                                            195



agreement. Defendant has the right to allocute before the District Court before imposition of

sentence.

                                         OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

failure to object bars that party from: (1) entitlement to de novo review by a district judge of

proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual findings
.
and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n.,

79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress

and the courts require that, when a party takes advantage of his right to object to a magistrate’s

findings or recommendation, a district judge must exercise its nondelegable authority by

considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                  SIGNED this the 19th day of May, 2016.




                                                     ____________________________________
                                                     KEITH F. GIBLIN
                                                     UNITED STATES MAGISTRATE JUDGE




                                               -5-
